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                                          UNITED STATES DISTRICT COURT
          15
                                         NORTHERN DISTRICT OF CALIFORNIA
          16
                                                SAN JOSE DIVISION
          17
               CISCO SYSTEMS, INC.,                        Case No. 5:14-cv-05344-BLF (NC)
          18
                            Plaintiff,                     ARISTA’S NOTICE OF MOTION AND
          19                                               MOTION TO STRIKE EXPERT
                     v.                                    OPINIONS AND TESTIMONY OF
          20                                               DR. KEVIN C. ALMEROTH
               ARISTA NETWORKS, INC.,
          21                                               Date:      September 9, 2016
                            Defendant.                     Time:      9:00 a.m.
          22                                               Dept:      Courtroom 3 - 5th Floor
                                                           Judge:     Hon. Beth Labson Freeman
          23
                                                           Date Filed: December 5, 2014
          24
                                                           Trial Date: November 21, 2016
          25

          26

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           1               NOTICE OF MOTION AND STATEMENT OF RELIEF SOUGHT

           2          PLEASE TAKE NOTICE that on September 9, 2016, at 9:00 a.m., or at such other time as

           3   the Court may direct, before the Honorable Beth Labson Freeman, at the United States District

           4   Court located at 280 South First Street, San Jose, California 95113, Defendant Arista Networks,

           5   Inc. (“Arista”) will, and hereby does, move the Court pursuant to Federal Rules of Evidence 402,

           6   403 and 702, as well as case law interpreting those rules, for an order excluding certain opinions

           7   in the Opening Expert Report and Rebuttal Expert Report of Dr. Kevin C. Almeroth submitted by

           8   Plaintiff Cisco Systems, Inc. (“Cisco”), and testimony regarding such opinions.

           9          This Motion to exclude certain opinions and testimony of Dr. Almeroth is based on this

          10   Notice of Motion and Motion, the Memorandum of Points and Authorities below, the Declaration

          11   of Ryan Wong (“Wong Decl.”) being filed herewith, and such other and further papers, evidence

          12   and argument as may be submitted to the Court in connection with the hearing on this motion.

          13                       MEMORANDUM OF POINTS AND AUTHORITIES

          14   I.     INTRODUCTION

          15          Cisco’s proffered expert on “copying,” Dr. Kevin C. Almeroth, offers several opinions in

          16   his Opening and Rebuttal Expert Reports that violate Rule 702 and should be excluded from trial.

          17          First, Dr. Almeroth should not be allowed to suggest to jurors that

          18               because he discloses no methodology for reaching that conclusion, identifies no

          19                                         on which he bases that opinion, readily admits that

          20                                                                                                  and

          21   does not                                                         . The Court should not allow

          22   highly inflammatory and prejudicial accusations of                        from an expert who has

          23   not even approached the standards required to make that accusation.

          24          Second, Dr. Almeroth’s vague assertion that Arista

          25        should be excluded under Rule 702, and on relevance and prejudice grounds. Nowhere in

          26   Dr. Almeroth’s reports does he disclose

          27                          or where those features are expressed in Cisco’s copyright registered

          28   works (if they are expressed in them at all). By discussing                                 without
                                                                1
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           1   any definition, Dr. Almeroth does not even purport to follow the legal requirements for

           2   comparing the                   of two works and assessing similarities of protected and

           3   unprotected elements. Instead, his nebulous                   allegations are a way to bypass the

           4   rigorous comparison that copyright law requires and replace it with Cisco’s expert’s ipse dixit

           5   based on undefined elements or features, many of which are neither accused in this case nor

           6   protectable under copyright law. Dr. Almeroth’s opinion that

           7              would prejudice Arista and confuse, rather than help, the jury. It should be excluded.

           8          Third, Dr. Almeroth offers several “opinions” that are not expert testimony at all, but

           9   rather an early closing argument, imputing subjective motives to Arista and parroting snippets

          10   from emails, documents, and depositions without applying any expertise as a computer scientist.

          11   As numerous courts have held, such “vouching” by experts is inappropriate. It is the province of

          12   the jury—not Dr. Almeroth—to determine whether a witness is credible and what lay conclusions

          13   to draw from a document. And it is the province of lawyers to argue what inferences should be

          14   drawn from non-technical evidence that the jury can understand. The Court should not allow Dr.

          15   Almeroth to usurp these functions by speculating about what witnesses knew or intended, telling

          16   the jury that—in his “expert” opinion—certain statements are credible while others are not, or

          17   rehashing record evidence that requires no expert assistance for the jury to understand.

          18          Finally, Dr. Almeroth should not be permitted to provide “expert” testimony on
          19                                                                 . Both parties’ user manuals are

          20   written in English, and Dr. Almeroth’s                                             require no

          21   scientific, technical, or other specialized knowledge. A juror is more than capable of seeing

          22   English text on a page and making a comparison between two sentences to determine whether

          23   impermissible copying occurred under the law as instructed by the Court. Dr. Almeroth’s

          24   opinions                              require no expertise beyond literacy, and should be excluded

          25   under Rule 702.

          26   II.    DR. ALMEROTH’S IMPROPER EXPERT OPINIONS
          27          Dr. Almeroth submitted two expert reports in this lawsuit on behalf of Cisco: An

          28   “Opening Expert Report of Kevin Almeroth Regarding Copying” on June 3, 2016 (“Opening
                                                                 2
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           1   Report”), which is directed at Cisco’s copyright infringement assertions, and a “Rebuttal Report

           2   of Kevin Almeroth” on June 17, 2016 (“Rebuttal Report”), which responds to expert opinions
                                                1
           3   submitted on behalf of Arista. The specific opinions challenged in this motion are identified and

           4   discussed in detail in Section IV below.

           5   III.      LEGAL STANDARD
           6             Trial judges serve as gatekeepers for both the relevance and reliability of expert

           7   testimony. Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F. 3d 1356, 1360 (Fed. Cir. 2008);

           8   Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999). Federal Rule of Evidence 702 permits

           9   expert testimony to be admitted only if it is: (1) based on scientific, technical, or other specialized

          10   knowledge that will help the trier of fact to understand the evidence or determine a fact in issue;

          11   (2) based upon sufficient facts or data; (3) the product of reliable principles and methods; and

          12   (4) delivered by a qualified witness who has applied the principles and methods reliably to the

          13   facts of the case. See FED. R. EVID. 702. Applying Rule 702, courts must consider “whether

          14   expert testimony proffered in the case is sufficiently tied to the facts of the case that it will aid the
          15   jury in resolving a factual dispute.” Daubert v. Merrell Dow Pharms, Inc., 509 U.S. 579, 591
          16   (1993).
          17             “[N]othing in either Daubert or the Federal Rules of Evidence requires a district court to
          18   admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”
          19   Domingo ex rel. Domingo v. T.K., 289 F.3d 600, 607 (9th Cir. 2002) (citing and quoting Gen.
          20   Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)). Therefore, trial courts should “exclude evidence

          21   when it finds that ‘there is simply too great an analytical gap between the data and the opinion

          22   proffered.’” Id. (affirming the trial court’s exclusion of expert testimony where “there was

          23   nothing but [the expert’s] ipse dixit linking” the data and his opinion); see also Ollier v.

          24   Sweetwater Union High School Dist., 768 F.3d 843, 860 (9th Cir. 2014) (affirming the trial

          25
               1
          26    Copies of Dr. Almeroth’s Opening Report and Rebuttal Report are attached to the Declaration
               of Ryan K. Wong in Support of Arista’s Motion to Strike Expert Opinions and Testimony of
          27   Dr. Kevin C. Almeroth (“Wong Declaration”). Dr. Almeroth’s Opening Report is attached as
               Wong Declaration Exhibit 1 (“Opening Rpt.”), and his Rebuttal Report is attached as Wong
          28   Declaration Exhibit 2 (“Rebuttal Rpt.”).
                                                                   3
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           1   court’s exclusion of expert testimony where “the experts’ methodology was ‘not at all clear’ and

           2   the trial court “could not ‘discern what, if any, method [the expert] employed in arriving at his

           3   opinions.’”).

           4          As the proponent of Dr. Almeroth’s testimony, Cisco has the burden of proving its

           5   admissibility. Lust v. Merrell Dow Pharms., Inc., 89 F.3d 594, 598 (9th Cir. 1996).

           6   IV.    ARGUMENT
           7          A.         The Court should exclude Dr. Almeroth’s opinion that
                                            because it is not the product of any reliable (or even disclosed)
           8                     method applied reliably to the facts of the case.
           9                     1.     Dr. Almeroth’s opinion that                                           is
                                        not based on any reliable analysis of the underlying source code, and
          10                            should be excluded.
          11          Dr. Almeroth’s opinion that                                      should be excluded
          12   because it is neither the product of “reliable principles and methods,” nor is based on “sufficient
          13   facts or data” to be admissible. See FED. R. EVID. 702; see also Finjan, Inc. v. Blue Coat Systems,
          14   Inc., Case No. 13-cv-03999-BLF, 2015 WL 4272870, at *4 (N.D. Cal. July 14, 2015) (Freeman,
          15   J.) (excluding expert testimony where the expert’s report “discloses no methodology other than to
          16   assert that he ‘personally performed these tests’ on the Accused Products[.]”).
          17          In Section IV.C of Dr. Almeroth’s Opening Report,
          18

          19                   . See Opening Rpt. ¶¶ 81–87. In particular, Dr. Almeroth opines that four

          20   characteristics of Arista’s parser are, in his opinion,

          21                                                                      . Based on this flimsy

          22   foundation, he concludes that

          23

          24          Nowhere in his report does Dr. Almeroth explain what he means by                        or

          25   how he came to distinguish between                                                    . Opening

          26   Rpt. at ¶¶ 81–87. He provides no data whatsoever to support his conclusion, nor does he disclose

          27   any method for evaluating the                             , and so there is no means even to

          28   evaluate whether that method is a reliable one, or whether he faithfully followed that method to
                                                                  4
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           1   reach his conclusions. Nor does he contend, much less explain the basis for concluding, that

           2   Arista

           3                         . See id. In fact, he does not

           4                                                      in his report suggesting that
                                                                                                                 2
           5                                                                                             . Id.

           6   Nevertheless, Dr. Almeroth testified at his deposition that this particular section of this Opening
                                                                                                                     3
           7   Report is the foundation of his                          opinion. Almeroth Dep. Tr. 277:14–278:10.

           8   Specifically, Dr. Almeroth testified as follows:

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          21   Id. at 276:25–278:10.

          22            Critically, when pressed by Arista’s counsel to explain the basis for his opinion that

          23                                                          , Dr. Almeroth could point only to his

          24   2
                 Dr. Almeroth provides a separate opinion in a different section of his report specifically directed
               to                                    and cites to
          25   See Opening Rpt. ¶¶ 225–30 and Exhibit Copying-6. That separate opinion regarding
                             does not target                                                         as discussed in
          26   Paragraphs 81 to 87 of his Opening Report, but is equally unreliable and must be excluded for the
               reasons stated elsewhere in this motion.
          27   3
                 The cited excerpts from Dr. Almeroth’s deposition transcript are provided in Exhibit 3 to the
          28   Wong Declaration.
                                                                  5
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           1                                                 with no supporting data of any kind:

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          19   Id. at 279:9–280:11 (objections omitted). Dr. Almeroth then confirmed that he

          20

          21                         , and continued to dodge questions about
                                                                                         4
          22                            . Id. at 280:13–281:12; Opening Rpt. ¶¶ 81–87.

          23          When pressed whether he had any evidence whatsoever that

          24
               4
          25     Dr. Almeroth testified that the remaining paragraphs in this section of his Opening Report (84
               through 86) also supported his opinion that                                      , despite the fact
          26   that those paragraphs do not include any assertion of
                                                                                             . See Almeroth Dep.
          27   Tr. 284:5–287:3 (discussing paragraphs 84, 85, and 86 of his Opening Report); see also Opening
               Rpt. ¶ 224 (referring to Paragraphs 81 through 87 of his Opening Report as
          28                                                                                 ).
                                                                6
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           1

           2

           3           , Dr. Almeroth could not identify a single piece of evidence. Almeroth Dep. Tr. 281:14–

           4   283:17; 289:11–20; 291:15–292:19. Dr. Almeroth even admitted that

           5                                                                         . Id. at 289:6–10; see also

           6   Opening Rpt. ¶ 224 (confirming that

           7                ).

           8            Notwithstanding his admitted lack of evidence, Dr. Almeroth maintained his opinion that

           9                                                 based solely on what he calls                         ”

          10   without providing any facts to support that claim, or any side-by-side comparison of
          11                                                     . Almeroth Dep. Tr. 282:12–20. In fact,
          12   Dr. Almeroth conceded that he did not
          13          to substantiate his assertion of
          14                                                              :
          15

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          23
                                                                               5
          24   Id. at 292:20–293:14 (emphasis added) (objection omitted).

          25
               5
          26       Remarkably, when asked

          27
                                                         See Almeroth Dep. Tr. 104:8–110:16. Dr. Almeroth’s
          28   opinion that
                                                                    7
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           1          The foregoing                         opinions should be excluded in limine under Rule

           2   702. As shown above, Dr. Almeroth does not disclose in his Opening Report, and admittedly did

           3   not follow, any reliable and scientific methodology to support his opinion that

           4                                      . FED. R. EVID. 702; see also Stilwell v. Smith & Nephew, Inc.,

           5   482 F.3d 1187, 1192 (9th Cir. 2007) (the test for reliability under Rule 702 is “the soundness of

           6   the [expert’s] methodology”); Finjan, Inc. v. Blue Coat Systems, Inc., 2015 WL 4272870, at *4

           7   (excluding expert opinion where the expert “d[id] not disclose any methodology” for his

           8   conclusions); XpertUniverse, Inc. v. Cisco Systems, Inc., 2013 WL 1702159, at *1 (D. Del.

           9   Feb. 25, 2013) (excluding as unreliable an expert opinion that source code in two products were

          10   the same where the expert only analyzed “screen shots in user manuals and affiliated manuals”

          11   and did not confirm the source code was actually the same); Fleming v. Escort, Case No. CV 09-

          12   105-BLW, 2012 WL 12539337, at *3 (D. Idaho May 23, 2012) (excluding an expert opinion

          13   because “[t]here is no way for the Court or the jury to evaluate [the expert’s] methodology when

          14   he has failed to explain how the source code works … his opinion is the classic ‘black box,’

          15   asserting that the source code makes the products non-infringing because he says so.”).

          16          Rather, Dr. Almeroth conceded at his deposition that he failed to
          17                                                             , and based his
          18   opinion entirely upon                                     rather than
          19                                                  Almeroth Dep. Tr. 292:20–293:14. That admission
                                       6
          20   is fatal to his opinion. By failing to perform (or disclose) any analysis of the

          21                                                                    , and relying only on

          22                                    , Dr. Almeroth has failed to apply any reliable principles and

          23   methods under Rule 702(c) to support his source code copying opinion. See GNPE Corp. v.

          24   Apple, Inc., Case No. 12-CV-02885-LHK, D.I. 242, at 7-8 (N.D. Cal. Apr. 16, 2014) (Koh, J.)

          25
               6
          26     By focusing exclusively on                                                       , Dr. Almeroth’s
               opinion is also untethered to copyrightable subject matter. See 17 U.S.C. 102(b) (“In no case
          27   does copyright protection … extend to any idea, procedure, process, system, method of operation,
               concept, principle, or discovery, regardless of the form in which it is described, explained,
          28   illustrated, or embodied in such work.”). Methods of operation can only be patented.
                                                                 8
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           1   (excluding expert testimony because “the Court must be able to see the mechanisms in order to

           2   determine if they are reliable and helpful” and because “‘30 years of experience’ alone does not

           3   constitute a sufficiently reliable and testable methodology”); Domingo, 289 F.3d at 607

           4   (affirming the exclusion of expert testimony on reliability grounds because he failed to provide

           5   “[t]he reasoning between steps in a theory … based on objective, verifiable evidence and

           6   scientific methodology”). For that reason alone, Dr. Almeroth’s                          opinion

           7   should be excluded. See Schudel v. Gen. Elec. Co., 120 F.3d 991, 996–97 (9th Cir. 1997),

           8   abrogated in unrelated part by Weisgram v. Marley Co., 528 U.S. 440 (2000) (ordering a new

           9   trial where the trial court failed to exclude unreliable expert opinions based on methods that were
                                               7
          10   not “scientifically acceptable”).

          11           In addition, whatever methodology (if any) Dr. Almeroth applied to arrive at his
          12                         , it was not reliably applied to any facts of the case. See FED. R. EVID.
          13   702(d); see also Ollier, 768 F.3d at 860–861 (affirming the exclusion of expert testimony as
          14   “speculative” and “inherently unreliable” because it was based on “superficial inspections” rather
          15   than a “systematic assessment” of the record evidence).
          16                                                                          . See Opening Rpt. ¶ 37
          17   (stating that
          18                                                                                    ; see also
          19   Almeroth Dep. Tr. 65:24–66:17

          20              . But he cites to none of that evidence to substantiate his accusation of

          21                               . Moreover, Dr. Almeroth provides no explanation of how he

          22   concluded that

          23                          , see Almeroth Dep. Tr. 293:5–14, and he has no knowledge of

          24

          25                    Id. at 281:14–283:17; 289:11–20; 291:15–292:19. These evidentiary

          26
               7
          27    See also Estate of Barabin v. AstenJohnson, Inc., 740 F. 3d 457, 464 (9th Cir. 2014) (ordering a
               new trial where the trial court allowed expert testimony on mesothelioma causation without
          28   properly validating the “scientific validity or methodology” of the testimony).
                                                                 9
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           1   deficiencies under Rules 702(b) and (d)—and his failure to consider any alternative explanations

           2   for                            besides                      —are a further reason to exclude his

           3   opinion that                                           . See Claar v. Burlington N.R.R., 29 F.3d

           4   499, 502 (9th Cir. 1994) (affirming the exclusion of expert testimony where the experts failed to

           5   “ma[k]e any effort to rule out other possible causes” beyond the one underlying their opinions).

           6                  2.      Dr. Almeroth’s opinion that
                                                                                                    is similarly
           7                          unreliable and should be excluded.
           8          Elsewhere in his Opening Report, and separate from his assertion that

           9                               (discussed above), Dr. Almeroth suggests                          as part

          10   of Cisco’s late disclosed allegation that Arista copied hundreds of Cisco CLI command “help
                                                                               8
          11   descriptions.” Opening Rpt. ¶¶ 225–26 and Exhibit Copying-6. Dr. Almeroth repeats this

          12   allegation in his Rebuttal Report, stating that
          13                                                                         See Rebuttal Rpt. ¶ 148(a)
          14   (emphasis added).
          15          These                         assertions directed to the accused CLI command “help
          16   descriptions” should also be excluded under Rule 702. Dr. Almeroth performs no analysis of
          17                                                                           ) that supports the
          18   conclusion that                              , and he cites to no evidence that
          19
               8
          20     Cisco first disclosed its contention that these help descriptions amounted to copyright
               infringement in a supplemental Interrogatory Response served at 10:44 on the last day of fact
          21   discovery. Arista had no opportunity to take any discovery from Cisco regarding any of the
               hundred-plus asserted CLI command “help descriptions,” or conduct any fact investigation of its
          22   own. See D.I. 306 (Declaration of Eduardo Santacana in Support of Arista’s Motion to Strike
               Cisco’s late-asserted “help descriptions”). Given the untimely disclosure, Dr. John R. Black, Jr.,
          23   who submitted two expert reports on behalf of Arista, did not have any means of gathering
               evidence through discovery, nor sufficient time to address these allegations regarding command
          24   “help descriptions.” For these reasons, opinions regarding these late contentions should be
               excluded. See Opening Rpt. ¶¶ 100, 221, 225–30, and Exhibit Copying-6. Arista filed a Motion
          25   to Strike the contentions for untimeliness, which Magistrate Cousins denied. See D.I. 304–08
               (Mot.); 323–24 (Opp.); 362–64 (Reply); 408 (Order). Arista is filing a motion for relief from the
          26   Magistrate Judge’s Order on grounds that the Magistrate Judge applied the wrong legal standard
               because he did not assess whether Cisco could have provided these contentions responses earlier
          27   based upon the evidence available to it. If the Court were to deny Arista’s motion for relief,
               Arista will request an opportunity for supplemental fact, and expert discovery and motion practice
          28   directed to the late contentions.
                                                                 10
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           1

           2                                See id.; Opening Rpt. ¶¶ 225–26 and Exhibit Copying-6. Expert

           3   testimony that reaches a factual conclusion without any effort to “adequately account[] for

           4   obvious alternative explanations” should not be admitted. See FED. R. EVID. 702 Advisory

           5   Committee’s Note; see also Claar, 29 F.3d at 502 (excluding expert testimony where the experts

           6   failed to “ma[k]e any effort to rule out other possible causes for the injuries plaintiffs complain

           7   of”); FURminator, Inc. v. Kim Laube & Co, Inc., 758 F. Supp. 2d 797, 808 (E.D. Miss. 2010)

           8   (barring a technical expert from testifying because the expert’s methodology “did not effectively

           9   eliminate alternative explanations” for the conclusion he reached). Here, Dr. Almeroth admitted

          10   that
          11

          12                             Almeroth Dep. Tr. 287:5–289:5 (emphasis added). In other words, any
          13   user of the Cisco IOS CLI can see the “help descriptions” on the computer screen—there is no
          14   need to access Cisco’s source code to view them.
          15

          16

          17                                                    Id. at 288:11–22.
          18          Since there is no evidence to suggest that any similarities between Arista’s and Cisco’s
          19   “help descriptions” actually, or even likely, occurred

          20                                                             Dr. Almeroth should not be permitted to

          21   speculate that

          22          B.        The Court should exclude Dr. Almeroth’s opinion that Arista
                                                                 under Rules 702 because he fails to apply the
          23                    proper legal standard or any scientific method to the available facts.
          24          In his Opening and Rebuttal Reports, Dr. Almeroth repeatedly asserts that Arista

          25                                                              , but he never articulates a reliable and

          26   consistent

          27

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                                                                 11
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          15   See also Opening Rpt. ¶¶ 65, 174; Rebuttal Rpt. ¶ 64; Almeroth Dep. Tr. 123:1–5

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          18          When pressed to reveal the methodology he followed determine that

          19                                             , Dr. Almeroth stated:

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          23                                                                 Almeroth Dep. Tr. at 125:22–

          24   126:18. He then expanded on his understanding of

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               Id. at 127:3–128:10 (emphasis added). Dr. Almeroth repeatedly confirmed that
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          11
                                                                         Id. at 134:15–136:1
          12

          13

          14
                                                   Id. at 135:22–136:1 (emphasis added). Finally, Dr. Almeroth
          15
               explained that his                                                        included looking at
          16

          17
                                             Id. at 141:13–21.
          18
                      Critically, Cisco has not asserted copyright protection over, and it has not specifically
          19
               alleged copyright infringement by Arista for supporting, the use of CLI command prefixes (i.e.,
          20
               entering partial commands that the system “autocompletes” into full ones), hitting “tab” in a CLI
          21
               to automatically complete a partially entered command, the general way CLI commands are
          22
               structured, or the way commands are actually input into the CLI, and Dr. Almeroth
          23

          24
                                                    See Second Amended Complaint (D.I. 64); see also,
          25
               generally, Opening and Rebuttal Rpts.
          26
                      The Court should exclude Dr. Almeroth’s nebulous and opaque opinion that
          27
                                               under Federal Rules of Evidence 702 because it is fails to follow
          28
                                                                 13
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           1   any reliable methodology for reaching that conclusion, and fails to follow the law governing

           2   claims of “look and feel.” First, Dr. Almeroth’s opinion fails to meet the requirements of Rule

           3   702(c) because he could not define any consistent or reliable methodology to define what

           4   constitutes                                , or a clear definition of what is included within the

           5                                     See, e.g., Almeroth Dep. Tr. 124:18–125:5 (

           6                                                                         id. at 129:25–143:18

           7

           8                 As Dr. Almeroth put it:

           9

          10                                                                      . at 140:2–14. The Court should
          11   not permit Dr. Almeroth’s to assert that                                                as evidence
          12   of copyright infringement given the absence of any defined or reliable methodology—indeed, of
          13   any methodology at all. See FED. R. EVID. 702(c).
          14          Second, Dr. Almeroth’s                             opinion should be excluded because it is
          15

          16   Specifically, Dr. Almeroth confirmed at his deposition that
          17

          18                                                                             . Almeroth Dep. Tr.
          19   127:3–128:10, 134:15–136:1. Cisco has never before claimed that Arista’s support of these
          20   features constitutes copyright infringement. See Second Amended Complaint (D.I. 64) (no such
                                                                                                                    9
          21   allegations); see also Cisco’s Suppl. Resp. to Arista’s Interrogatory No. 2 (no such allegations).

          22   Since Dr. Almeroth’s                                    is not limited to the asserted and accused

          23   aspects of the Cisco and Arista CLIs, it both violates the discovery rules and is not helpful to a

          24   jury likely to be overwhelmed by Cisco’s amorphous theories of infringement.

          25
               9
          26    Arista’s Interrogatory No. 2 to Cisco asks Cisco to identify “every similarity that Cisco
               contends is a basis of its claim of copyright infringement[.]” Cisco did not identify CLI prefix
          27   support or “tab” completion support as a “similarity” in any of its responses to Interrogatory
               No. 1. See Wong Decl. Ex. 4 (attaching Cisco’s most recent supplemental responses to this
          28   discovery request).
                                                                14
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           1            Finally, Dr. Almeroth’s                            does not even attempt to follow the

           2   copyright law. He does not attempt to account for the lack of copyright protection in any aspect

           3   of what contributes to                        For example,

           4

           5                  Analytic dissection is essential before any comparison of works is appropriate. See

           6   Apple v. Microsoft, 35 F.3d 1435, 1443 (9th Cir. 1994) (“Using analytic dissection, … the court

           7   must determine whether any of the allegedly similar features are protected by copyright” before it

           8   “set[s] the appropriate standard for a subjective comparison of the works to determine whether, as

           9   a whole, they are sufficiently similar to support a finding of illicit copying”). But Dr. Almeroth

          10   did not even give lip service to this legal requirement. Moreover,
          11

          12                                      . See also Almeroth Dep. Tr. 125:22–126:18. There is no basis
          13   in logic or the law for concluding that                                                     without
                                                                        10
          14   considering the differences, as well as the similarities.     Yet Dr. Almeroth never mentions, for
          15   example, the more than 10,000 commands that are different between the Cisco and Arista
          16   products, or the different features of the two products, or countless other general and specific
          17   differences. Because Dr. Almeroth’s opinion that
          18          is merely an attempt to put a rhetorical name on Cisco’s allegations without any attention to
          19   the analytical and scientific rigors that such an accusation demands, it should be excluded. See
          20   FED. R. EVID. 702. Allowing this testimony would be highly prejudicial and would invite error by

          21   inviting the jury to find infringement based on unprotectable similarities that Cisco does not and

          22   cannot claim to own.

          23

          24   10
                    In fact, Dr. Almeroth has never explained
          25

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                                                                 15
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           1           C.      The Court should exclude Dr. Almeroth’s opinions that speculate about the
                               state of mind of fact witnesses, or merely summarize evidence and provide
           2                   attorney argument without any technical analysis.

           3           The Court should exclude from Dr. Almeroth’s Opening and Rebuttal Reports all portions

           4   of his opinions where he impermissibly summarizes and speculates about the subjective intent

           5   and beliefs of authors of documents and emails, including—for example—divining the intent of

           6   the authors of Cisco documents when they used certain words, or divining the intent of Arista

           7   engineers based on emails and other documents.

           8           A party’s or person’s state of mind is not the proper subject of expert testimony. See, e.g.,

           9   In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, & Prods. Liab. Litig.,

          10   978 F. Supp. 2d 1053, 1087 (C.D. Cal. 2013) (barring an expert from testifying regarding a

          11   party’s mental state because such testimony “is not a proper subject for expert testimony, and it

          12   must be established (if at all) by other evidence.”); see also Oracle America, Inc. v. Google Inc.,

          13   No. 10-03561, D.I. 1803 (“Order Re Google Motion In Limine Re Expert Vouching for Preferred

          14   Version of Disputed Fact”) (N.D. Cal. May 3, 2016) (Alsup, J.) (“Nor should an expert ever

          15   attempt to tell the jury what someone intended or was thinking. The mental state of the characters

          16   in our story on trial is for the jury to decide, never for experts to speculate about . . . No expert is

          17   a mind reader. These are clear-cut prohibitions.”). Therefore, whether any Arista engineers

          18   actually had the intent to mimic aspects of the Cisco CLI, or whether particular employees held

          19   certain beliefs about the Cisco CLI, Arista CLI, or the industry standard CLI, cannot be argued to

          20   the jury as part of Dr. Almeroth’s “expert” testimony. Id.

          21           Moreover, an expert may not be used as a party spokesperson to provide an “additional

          22   summation” of evidence that goes beyond his or her expertise. United States v. Freeman, 498

          23   F.3d 893, 903–04 (9th Cir. 2007) (“The fact that [the expert] possessed specialized knowledge of

          24   the particular language of drug traffickers did not give him carte blanche to testify as to the

          25   meaning of other words[.]”). Therefore, Dr. Almeroth is not permitted to broadly “interpret the

          26   evidence” and provide lay opinions as to how the jury should read non-technical emails and

          27   documents, as that would “usurp[] the jury’s function” and “implicate[] Rule 403 as a needless

          28   presentation of cumulative evidence and a waste of time.” Id; see also United States v. Frazier,
                                                                  16
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           1   387 F.3d 1244, 1262–63 (11th Cir. 2004) (“Proffered expert testimony generally will not help the

           2   trier of fact when it offers nothing more than what lawyers for the parties can argue in closing

           3   arguments.”).

           4          Despite these prohibitions, Dr. Almeroth repeatedly cites to and summarizes deposition

           5   testimony and documents throughout his Opening and Rebuttal Reports as supposed evidence of

           6   Arista’s state of mind—namely, that

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           8          Specifically, Dr. Almeroth quotes from and summarizes:

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          19   For each of these summaries, Dr. Almeroth does not apply any scientific, technical, or specialized

          20   knowledge, or any expert methodology; he simply reads the document(s) and provides his own

          21   conclusion therefrom, as a lay witness might (except Dr. Almeroth has no percipient knowledge

          22   of the events).

          23

          24

          25                              Almeroth Dep. Tr. 14:14–17:5. To the contrary, Dr. Almeroth readily

          26   admitted: “

          27

          28          ” Id. at 14:21–15:6. Here, Dr. Almeroth’s sweeping characterizations and interpretations
                                                               18
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           1   of non-technical deposition testimony and documents regarding the specific intent and subjective

           2   beliefs of Arista employees should be excluded because those opinions are not tethered to any

           3   scientific and specialized analysis or methodology, and offer nothing more than what Cisco’s

           4   lawyers can argue in closing arguments. See FED. R. EVID. 702(a), (c), and (d); see also Finjan,

           5   Inc. v. Blue Coat Systems, Inc., Case No. 13-cv-03999-BLF, D.I. 378 (N.D. Cal. July 14, 2015)

           6   (Freeman, J.) (excluding expert testimony of “what Defendant thought about Plaintiff’s patents”

           7   because it “is not the proper subject of expert testimony” and the experts were not “qualified to

           8   offer opinions regarding Defendant’s subjective beliefs”).

           9          D.      The Court should exclude Dr. Almeroth’s opinions that improperly vouch for
                              the credibility of statements made by witnesses at deposition or in documents.
          10

          11          The Court should exclude all portions of Dr. Almeroth’s reports where he endorses

          12   deposition testimony and documents without applying any scientific or expert methodology or

          13   analysis.

          14          Because expert testimony is “likely to carry special weight” with the jury, “care must be

          15   taken to assure that a proffered witness truly qualifies as an expert” on all testimony he or she

          16   offers under Rule 702. Jinro America Inc. v. Secure Investments, Inc., 266 F.3d 993, 1004 (9th

          17   Cir. 2001) (experts receive “unmerited credibility” if allowed to provide lay testimony).

          18   Speculative testimony is not admissible, General Electric, 522 U.S. at 146, and courts must

          19   carefully evaluate whether an expert is “relying properly on his general experience and reliable

          20   methodology” or is improperly offering lay opinions “as to the meaning of numerous words and

          21   conversations” in documents and testimony. See Freeman, 498 F.3d at 903. A party may not use

          22   an expert to “unfairly provid[e] … an additional summation” of their case “by having the expert

          23   interpret the evidence.” Id. at 904. Once an expert ceases “testifying as an expert and beg[ins]

          24   providing lay testimony, he [is] no longer ‘allowed ... to testify based on hearsay information, and

          25   to couch his observations as generalized ‘opinions’ rather than as firsthand knowledge.’” Id. at

          26   904 (citation omitted); see also Cree v. Flores, 157 F.3d 762, 773 (9th Cir. 1998) (Federal Rules

          27   of Evidence 602 and 803 apply to non-expert testimony).

          28          No expert is permitted to vouch for or buttress the credibility of what another person has
                                                                19
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           1   said, either in a deposition on in a document, as it would invade the province of—and would not

           2   assist—the trier of fact. See, e.g., United States v. Binder, 769 F.2d 595, 602 (9th Cir. 1985)

           3   (experts may not testify as to credibility), overruled on other grounds in U.S. v. Morales, 108

           4   F.3d 1031, 1035 n.1. (9th Cir. 1997); United States v. Awkard, 597 F.2d 667, 671 (9th Cir.

           5   1979) (error to permit expert to testify to the ability of a witness to accurately recall past events

           6   because it goes to credibility); United States v. Barnard, 490 F.2d 907, 912–913 (9th Cir.

           7   1973) (affirming the exclusion of an expert opinion as to the truthfulness of a witness’s

           8   testimony); Lindsey v. United States, 237 F.2d 893, 895–97 (9th Cir. 1956) (error to permit an

           9   expert to comment on witness credibility); see also Order Re Google Motion In Limine Re Expert

          10   Vouching for Preferred Version of Disputed Fact (“[A]n expert should never purport to tell the

          11   jury which side’s fact witnesses are credible or vouch for whose fact scenario is correct—that is

          12   entirely for the jury.”).

          13           Dr. Almeroth improperly vouches for Cisco’s view of disputed facts in both his Opening

          14   and Rebuttal Reports by repeatedly quoting from the deposition testimony of fact witnesses and

          15   vouching for the credibility of those statements by adopting them as his expert opinions, without

          16   providing any scientific or technical analysis of his own. Specifically, Dr. Almeroth

          17   impermissibly vouches for the credibility of:

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          28           Dr. Almeroth also repeatedly vouches for the credibility of the content of quoted
                                                                 20
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           1   statements in documents without providing any expert analysis or specialized knowledge that the

           2   jury lacks. Specifically, Dr. Almeroth vouches for the credibility of:

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           9          In each of the above examples, Dr. Almeroth fails to apply any generally accepted and
          10   reliable scientific methodology (or any methodology beyond what how a lay juror would weigh
          11   the evidence) to formulate his “expert” opinions. He simply places his “expert” seal of approval,
          12   for example, on the argument that
          13

          14

          15                                 . He neither contributes any “scientific, technical, or other
          16   specialized knowledge” to “help the trier of fact to understand the evidence or to determine a fact
          17   in issue,” nor applies a scientifically valid or reliable methodology to the deposition testimony
          18   and documents he quotes from. See FED. R. EVID. 702; see also Claar v. Burlington Northern R.
          19   Co., 29 F.3d 499, 502 (9th Cir. 1994) (affirming the exclusion of expert testimony because “[i]n
          20   order to qualify as ‘scientific knowledge’ … an inference must be derived by the scientific

          21   method”); Order Re Google Motion In Limine Re Expert Vouching for Preferred Version of

          22   Disputed Fact (allowing “experts to quote from fact testimony or … documents” only if they

          23   “explicitly assume that they accurately reflect the relevant circumstances and then, based

          24   thereon, apply their specialized knowledge to render opinions beyond the ken of our lay jury).

          25   The only purpose served by Dr. Almeroth’s citations to above testimony and documents is so he,

          26   as a purported “expert,” can vouch for their truthfulness and credibility. The Court should

          27   therefore exclude all instances in Dr. Almeroth’s Opening and Rebuttal Reports where he merely

          28   affirms the opinions and conclusions offered by lay witnesses without providing any independent
                                                                21
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           1   analysis, or apply any methodologies, of his own.

           2          E.        The Court should exclude Dr. Almeroth’s opinion that
                                                    under Rule 702(a) because it is not based on any
           3                    expertise beyond the reach of lay jurors.
           4          Dr. Almeroth purports to provide an expert opinion regarding

           5

           6                                 Both the asserted Cisco user manuals, and the accused Arista user

           7   manuals, are written in English.

           8                                           At his deposition, Dr. Almeroth admitted

           9

          10                                                         . See Almeroth Dep. Tr. 23:1–23:22
          11

          12

          13                                                   see also id. at 22:1–4
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          16          Instead of performing a specialized or technical analysis of
          17                                                             , Dr. Almeroth
          18

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          21          The Court should not allow Dr. Almeroth to provide lay opinions and usurp the jury’s role

          22   in determining                                                           . Federal Rule of Evidence

          23   702(a) and Daubert require the Court to ensure that an “expert’s scientific, technical, or other

          24   specialized knowledge will help the trier of fact to understand the evidence or to determine a fact

          25   in issue.” FED. R. EVID. 702(a); Daubert, 509 U.S. at 591. Here, Dr. Almeroth’s

          26

          27                    , and his opinions regarding                                            , is not based

          28   on any scientific, technical, or other specialized knowledge, and therefore will not help the jury
                                                                   22
                      NOTICE OF MOTION AND MOTION TO STRIKE EXPERT OPINIONS AND TESTIMONY OF
                                              DR. KEVIN C. ALMEROTH
                                            Case No. 5:14-cv-05344-BLF (NC)
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           1   understand the evidence or determine whether                                                    . Dr.

           2   Almeroth’s opinion will only usurp the jury’s role in reviewing the evidence and making that

           3   determination for itself. For these reasons, the Court should exclude this testimony in Dr.

           4   Almeroth’s reports. See Opening Rpt. ¶¶ 155–167 and Exhibit Copying-1.

           5   V.     CONCLUSION
           6          For the foregoing reasons, the Court should exclude and find inadmissible under Federal

           7   Rules of Evidence 702, 402, and 403, the following opinions set forth in Dr. Almeroth’s Opening

           8   and Rebuttal Reports, because those opinions will not assist the trier of fact to understand the

           9   evidence or to determine a fact in issue, are not based on sufficient facts or data, are not based on

          10   reliable principles and methods, and Dr. Almeroth did not reliably apply any scientific methods to

          11   the record evidence:

          12                  •   Dr. Almeroth’s opinions and testimony regarding
          13                                                                     Opening Rpt. ¶¶ 81–
                                  87, 224; Almeroth Dep. Tr. 276:25–278:10, 279:9–280:11, 280:13–
          14                      281:12.
          15                  •   Dr. Almeroth’s opinions and testimony regarding
          16                                   Opening Rpt. ¶¶ 100, 221, 225–230 and Exhibit
                                  Copying-6; Rebuttal Rpt. ¶ 148(a).
          17
                              •   Dr. Almeroth’s opinions and testimony regarding
          18                                                                   Opening Rpt. ¶¶ 65, 174;
                                  Rebuttal Rpt. ¶¶ 64, 70, 136, 137, 145, 158; Almeroth Dep. Tr. 123:1–
          19                      5; 124:18–125:5; 125:22–126:18; 127:3–128:10; 129:25–143:18.
          20                  •   Dr. Almeroth’s lay opinions and summations of evidence regarding
                                  Arista’s state of mind, including opinions regarding the knowledge,
          21                      specific intent, and beliefs of Arista employees pertaining to indirect
                                  infringement, bad faith, and lay opinions and arguments summarizing
          22                      other non-technical record evidence, which is not proper expert
                                  testimony. Opening Rpt. ¶¶ 70, 73–76, 78–79, 112, 118, 138–40, 145–
          23                      48, 152–53, 156–57, 195, 203, 219-20, 242, 246 (and footnotes 188–
                                  91), 250, 256–57; Rebuttal Rpt. ¶¶ 104, 124, 132, 135, 137, 138–39,
          24                      142–43, 146–47, 149–50, 157, 159, 160.
          25                  •   Dr. Almeroth’s opinions and testimony that merely vouch for the
                                  credibility and truthfulness of what individuals said in deposition
          26                      testimony and in documents, which invades the province of the jury.
                                  Opening Rpt. ¶¶ 51, 98, 102–10, 115, 136–37, 247, 260; Rebuttal Rpt.
          27                      ¶¶ 62 (and footnote 30), 73, 75 (and footnote 47), 102 (and footnote
                                  72), 108 (and footnotes 85 and 86), 125.
          28
                                                                23
                      NOTICE OF MOTION AND MOTION TO STRIKE EXPERT OPINIONS AND TESTIMONY OF
                                              DR. KEVIN C. ALMEROTH
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           1                •   Dr. Almeroth’s opinions and testimony that merely involve performing
                                a lay comparison of English words and sentences between Cisco and
           2                    Arista user documentation. Opening Rpt. ¶¶ 155–167 and Exhibit
                                Copying-1.
           3
                                                                   Respectfully submitted,
           4
               Dated: August 5, 2016                               KEKER & VAN NEST LLP
           5

           6                                            By:        /s/ Robert A. Van Nest
           7                                                            ROBERT A. VAN NEST

           8

           9                                                       Attorneys for Defendant
                                                                   ARISTA NETWORKS, INC.
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                     NOTICE OF MOTION AND MOTION TO STRIKE EXPERT OPINIONS AND TESTIMONY OF
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